 

Case 4:18-cv-01770 Document 135 Filed on 10/29/19 in TXSD Page 1 of 2

IN THE UNITED STATES COURT OF APPEALS
United States Courts FOR THE FIFTH CIRCUIT

Southern District of Texas
FILED

October 29, 2019

 

David J. Bradley, Clerk of Court No. 19-20332
4:18-cv-1770
HUBERT RANDLE,
A True Copy
Plaintiff - Appellant Certified order issued Oct 29, 2019
Jule We Comer
v. Clerk, U:S. Court of A peals, Fifth Circuit

METROPOLITAN TRANSIT AUTHORITY OF HARRIS COUNTY,

Defendant - Appellee

 

Appeal from the United States District Court
for the Southern District of Texas

 

CLERK'S OFFICE:

Under FED. R. APP. P. 42(b), the appeal is dismissed as of October 29,
2019, pursuant to appellant's unopposed motion.

LYLE W. CAYCE
Clerk of the United States Court
of Appeals for the Fifth Circuit

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Angelique B. Tardie, Deputy Clerk

ENTERED AT THE DIRECTION OF THE COURT
 

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United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK

600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

October 29, 2019

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 19-20332 Hubert Randle v. Metropolitan Transit
Authority

USDC No. 4:18-CV-1770

Dear Mr. Bradley,

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,

LYLE W. CAYCE, Clerk

By:
Angelique B. Tardie, Deputy Clerk
504-310-7715

 

cc w/fencl:
Mr. Don J. Foty
Mr. Jeffrey C. Londa
Mr. Kirk Louis Pittard
